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                      UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

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 MAURICE SHNAIDER, et al.,
                                                                          Case No:
                                   Plaintiffs,
                                                                          8:24-cv-1067-MSS-SPF
                          -against-

 AMERICAN MUSLIMS FOR PALESTINE,
 et al.1,

                                   Defendants.
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 PLAINTIFFS’ MEMORANDUM OF LAW IN RESPONSE TO ORDER
    TO SHOW CAUSE REGARDING VENUE AND JOINDER OF
                 MULTIPLE PLAINTIFFS


        This memorandum of law is respectfully submitted in response to the

Court’s sua sponte show cause order (Dkt. 11) seeking briefing regarding

placing venue in the Middle District of Florida and the joinder of multiple

plaintiffs in this action.




        1 Each defendant Chapter of Students for Justice in Palestine is listed on Exhibit 1.
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           VENUE IN THE MIDDLE DISTRICT OF FLORIDA
      The Amended Complaint (Dkt. 6) lists the University of South Florida

Students for Justice in Palestine (“USF SJP”) among the named defendants.

Since there were too many chapters of Students for Justice in Palestine to list

in the caption, footnote 1 on page 4 of the Amended Complaint states, “[e]ach

defendant Chapter of Students for Justice in Palestine is listed on Exhibit 1.”

Specifically, page 6 of Exhibit 1 of the Amended Complaint includes USF SJP

among the named defendants.

      Additionally, ¶ 276 of the Amended Complaint details actions by USF

SJP, which are relevant to the causes of action brought by Plaintiffs in this

case. On October 9, 2023, USF SJP posted a message on its official Facebook

account that can be construed as conspiring with, aiding and abetting, and

providing material support to Hamas, thereby implicating them in the claims

brought by Plaintiffs under the federal Anti-Terrorism Act, 18 U.S.C. § 2333

(“ATA”), as amended by the Justice Against Sponsors of Terrorism Act, 2 Pub.

L. No.114-222 (2016).

      1.    Statutory Basis for Venue: Under 18 U.S.C. § 2334(a), any civil

action under 18 U.S.C. § 2333 may be instituted in the district court of the

United States for any district where any plaintiff resides or where any



      2  JASTA provides a civil remedy for anyone “injured…by reason of an act of
international terrorism.” 18 U.S.C. § 2333(a).


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defendant resides, is served, or has an agent. Given that USF SJP is located

within the Middle District of Florida and is a named defendant, venue is proper

in this district. This satisfies the statutory requirement for venue under

§ 2334.

      2.     Venue Allegations in the Complaint: It is important to note

that Plaintiffs are not required to include an allegation showing proper venue

in the complaint. Under the Federal Rules of Civil Procedure, venue is not an

essential element of pleading, and Plaintiffs do not need to allege facts

establishing venue in the complaint. Edwards v. Auto Showcase Motorcars of

Palm Beach, LLC, 2010 U.S. Dist. LEXIS 36769 (S.D. Fla. Apr. 14, 2010) (“Fed.

R. Civ. P. 8(a) does not require that a complaint include allegations showing

venue to be proper. Therefore, failure to state that venue lies properly in this

district is not a valid reason to dismiss the complaint.”); Reyes v. JA & M

Developing Corp., 2012 U.S. Dist. LEXIS 116324 (S.D. Fla. Aug. 17, 2012); see

Fed. R. Civ. P. Form 2 note 3. Rather, improper venue is an affirmative defense,

which must be timely raised by Defendants, or it is waived. Fed. R. Civ. P.

12(b)(3), (h).

      3.     Remedy for Improper Venue: Even if venue were improper,

dismissal would not be the better remedy. Under 28 U.S.C. § 1406(a) the Court

has the authority to transfer a case filed in a district where venue is incorrect

to any district or division in which it could have been brought in the interest


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of justice. Courts often find that the “interest of justice” favors transfer over

dismissal. Miller v. Hambrick, 905 F.2d 259, 262 (9th Cir. 1990) (“Normally

transfer will be in the interest of justice because normally dismissal of an

action that could have been brought elsewhere is time-consuming and justice-

defeating.”) Therefore, even if venue is improper in this case, the case should

be transferred rather than dismissed in the interest of justice. This aims to

minimize disruption to the litigation process. Pelton v. Lowe’s Home Centers,

LLC, 2021 U.S. Dist. LEXIS 265484 (M.D. Fla. 2021), Brannigan v. Anthem

Ins. Co., Inc., 2022 U.S. Dist. LEXIS 202494 (M.D. Fla. Nov. 7, 2022).


                  JOINDER OF MULTIPLE PLAINTIFFS
      Rule 20(a) permits multiple plaintiffs to join in one action if “(A) they

assert any right to relief jointly, severally, or in the alternative with respect to

or arising out of the same transaction, occurrence, or series of transactions or

occurrences,” and “(B) any question of law or fact common to all plaintiffs will

arise in the action.” Fed. R. Civ. P. 20(a). “Joinder is ‘strongly encouraged’ and

the rules are construed generously ‘toward entertaining the broadest possible

scope of action consistent with fairness to the parties.’” Vanover v. NCO Fin.

Servs., Inc., 857 F.3d 833, 839 (11th Cir. 2017) (quoting United Mine Workers

of Am. v. Gibbs, 383 U.S. 715, 724, 86 S. Ct. 1130, 16 L. Ed. 2d 218 (1966)).

Plaintiffs in this case are all victims of Hamas’s terrorism on October 7, 2023,



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and their claims arise out of the same series of transactions or occurrences

involving the Defendants’ alleged conspiracy with, aiding and abetting, and

material support for Hamas. Additionally, common questions of law and fact,

such as the Defendants’ liability under the ATA, will arise in this action. The

permissive joinder of Plaintiffs in this case is appropriate under Rule 20(a)

because the claims arise out of the same series of transactions and occurrences

and involve common questions of law and fact. This approach is consistent with

the principles of judicial economy and fairness to the parties involved.

Dated: July 31, 2024

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